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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations piste “ a 4
JEN TT 2005
UNITED STATES DISTRICT COURT ausacosasineraaler
SOUTHERN DISTRICT OF CALIFORNIA {,yCUTHERN Disiiyy OF CALIFORNIA
See rs nee “oe TS
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
(For Revocation of Probation or Supervised Release)
Vv (For Offenses Committed On or After November |, 1987)
JUAN JOSE MARTINEZ (1) Case Number: 18-CR-2796-CAB

JAMES M. CHAVEZ

Defendant’s Attorney

REGISTRATION NO. 69646298

LC] ~

THE DEFENDANT:

[X] admitted guilt to violation of allegation(s) No. lL, 2

(] was found guilty in violation of allegation(s) No. after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number Nature of Violation
l nv5, Failure to report to USPO (US Probation Office) upon release from custody
2 nv8, Failure to be truthful and/or follow instructions

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any

material change in the defendants economic circumstances.
January hooks

Date of Ymposition of Sentence

t “S_)
HON; Cathy Ann Bencivengo
UNITED STATES DISTRICT JUDGE

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AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT: JUAN JOSE MARTINEZ (1) Judgment - Page 2 of 2
CASE NUMBER: 18-CR-2796-CAB

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
14 MONTHS.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

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The defendant is remanded to the custody of the United States Marshal.

() The defendant shall surrender to the United States Marshal for this district:
CL] at A.M. on

CL} as notified by the United States Marshal.

q The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

CL) onor before
C) as notified by the United States Marshal.
CL] as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

I

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